
By the Court.—Truax, J.
The motion for an extra allowance was denied upon the ground that it did *250not appear that the right which plaintiff sought to enforce was of any value and, that, therefore, there was no fact which could be used as a basis for computation upon which to predicate an extra allowance. The only allegation in the printed papers bearing upon the question of the value of the subject matter involved in the action, is the allegation that the action was brought to procure a judgment allowing the plaintiff to redeem from forfeiture certain stock of the defendants upon payment of the sums due thereon for unpaid assessments, and that the amount so due was at the time of the trial $15,267.
We are of the opinion that this is not evidence that the stock was worth the sum of $15,267. It may well be that the stock had been assessed for more than its value. We have not the pleadings before us, and we cannot say what the allegations in the pleadings were, nor can we say whether the plaintiff was estopped from denying that the stock was of the value above specified.
Order affirmed with costs.
Freedman, J., I concur in result.
